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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF RHODE ISLAND

 IN RE SEARCH WARRANT
                                               Misc. No. 22-SW-008-LDA




                                 MOTION TO UNSEAL

         In the above matter, the Government moves that the Application for Search
Warrant, Search Warrant, and Affidavit and Attachments be unsealed in the above

matter.


                                                Respectfully submitted,

                                                UNITED STATES OF AMERICA
                                                By its attorneys,

                                                RICHARD B. MYRUS
                                                Acting United States Attorney




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SO ORDERED:




LINCOLN D. ALMOND
UNITED STATES MAGISTRATE JUDGE
Dated:
